Case 2:05-cr-20044-PM-KK   Document 183   Filed 10/30/07   Page 1 of 6 PageID #:
                                    622
Case 2:05-cr-20044-PM-KK   Document 183   Filed 10/30/07   Page 2 of 6 PageID #:
                                    623
Case 2:05-cr-20044-PM-KK   Document 183   Filed 10/30/07   Page 3 of 6 PageID #:
                                    624
Case 2:05-cr-20044-PM-KK   Document 183   Filed 10/30/07   Page 4 of 6 PageID #:
                                    625
Case 2:05-cr-20044-PM-KK   Document 183   Filed 10/30/07   Page 5 of 6 PageID #:
                                    626
Case 2:05-cr-20044-PM-KK   Document 183   Filed 10/30/07   Page 6 of 6 PageID #:
                                    627
